              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     CHARLOTTE DIVISION
              CRIMINAL CASE NO. 3:07-cr-00211-MR-2


UNITED STATES OF AMERICA         )
                                 )
                                 )
         vs.                     )            ORDER
                                 )
                                 )
VICTORIA L. SPROUSE,             )
                                 )
                   Defendant.    )
________________________________ )


     THIS MATTER is before the Court on the Government’s Motion for

Leave to Dismiss Count Twenty-Six in the Fourth Superseding Bill of

Indictment. [Doc. 482]. The Defendant does not oppose the motion.

     For the reasons stated in the Government’s motion, and for cause

shown,

     IT IS, THEREFORE, ORDERED that the Government’s Motion [Doc.

482] is GRANTED, and Count Twenty-Six in the Fourth Superseding Bill of

Indictment is DISMISSED WITH PREJUDICE.

     IT IS SO ORDERED.                  Signed: May 20, 2014




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